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                                        ORDERED.


         Dated: August 09, 2018




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov


                                                     Case No. 6:18-bk-01045-KSJ
In re:

JEFFREY MICHAEL MCMENAMIN,

      Debtor.
_________________________/


                            ORDER DISMISSING CASE
                FOR FAILURE TO MAINTAIN TIMELY PLAN PAYMENTS
          THIS CASE came on for hearing on August 7, 2018 at 9:30 am, upon the Motion to

Dismiss Case for Failure to Maintain Timely Plan Payments (DE 25). The Court, having heard

arguments of counsel and being otherwise fully informed in the premises, finds that this case

should be dismissed. Accordingly, it is hereby

          ORDERED AND ADJUDGED AS FOLLOWS:
          1.     The Motion (DE 25) is GRANTED.

          2.     The automatic stay imposed by 11 U.S.C. Section 362 is terminated.

          3.     The Trustee shall refund all funds on hand, if any, to the Debtor in care of the

                 Debtor’s attorney, when represented by an attorney.
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       4.     The Debtor, the Trustee, or any party in interest, may, within 14 days from the

              date of this Order, request the Court to examine the fees paid to Debtor's attorney

              and request disgorgement of any portion deemed excessive. The Court shall retain

              jurisdiction for this purpose.

       5.     The Trustee is discharged from any further duties.


Laurie K. Weatherford, Chapter 13 Trustee, is directed to serve a copy of this order on
interested parties and file a proof of service within three (3) days of the entry of the order
